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14
15                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
16
17   OHAD BARKAN,                                Case No.: 2:18-cv-06691-MWF-AS
     Individually and on behalf of all others
18   similarly situated,
                                                 DEFENDANTS’ MOTION TO
19                      Plaintiff,               COMPEL BILATERAL
                                                 ARBITRATION
20         v.
                                                 Motion Hearing:
21   HEALTH NET OF CALIFORNIA,                   Judge: Hon. Michael W. Fitzgerald
     INC., HEALTH NET LIFE                       Date:   October 22, 2018
22   INSURANCE CO., MANAGED                      Time:   10:00AM
     HEALTH NETWORK, INC., HEALTH
23   NET, INC., and CENTENE CORP.,
24                      Defendants.
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 1                         NOTICE OF MOTION AND MOTION
 2   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 3         PLEASE TAKE NOTICE THAT Defendants Health Net of California, Inc.,
 4   Health Net Life Insurance Co., Managed Health Network, Inc., Health Net, Inc., and
 5   Centene Corp. hereby respectfully move this Court to compel bilateral arbitration
 6   between Plaintiff and Defendants.
 7         This motion is based upon this notice of motion and motion, the attached
 8   memorandum of points and authorities and proposed order, the pleadings and papers
 9   on file and hereafter filed, and upon such other matters as may be presented to the
10   Court before or at the time of the hearing on the motion. This motion is made
11   following a telephonic conference of counsel pursuant to Local Rule 7-3, which took
12   place on August 31, 2018, and which the parties agree constituted a sufficient
13   conference under the rule. Counsel were unable to reach agreement to avoid the need
14   for this motion.
15
     Dated: September 7, 2018              Respectfully submitted,
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17                                         WILLIAMS & CONNOLLY LLP

18                                         By: /s/ Steven M. Cady
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